       Case: 3:21-cv-00381-jdp Document #: 1 Filed: 06/07/21 Page 1 of 5


          DOG NO
        SECT/FILED
                                   ATTACHMENT 1
    2021 JUN -7 PM 2: 30
       Eik
    CLE US 0;5; C.,; !'(f COMPLAINT FORM
        WO OF            .
                 (for filers who are prisoners without lawyers)

                     IN THE UNITED STATES DISTRICT COURT
            FOR 'THE \Ate_ske-Cin  DISTRICT OF WIsconan



(Full name of plaintiff(s))

                kniincou   leoS (Lit       g,



            '                                               Case Number:
                                                                    21-cv-381-jdp
(Full name of defendant(s))
                                                            (to be supplied by clerk of court)
1                 c

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                               J
Co u 044
       1/41



A. PARTIES

       1.         Plaintiff is a citizen of _IA&0 71 A               n       , and is located at
                                               (State)

            333 Vtne. Abrieet
                                       (Address of prison or jail)

       (If more than one plaintiff is filing, use another piece' of paper).



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             2.        Defendant Lacepsse          Cotirth4;j5-epo.clAient
                                                              Q                          (Name)

    is (if a person or private corporation) a citizen of   _L&C c C se titxf
                                                                                 (State, if known)
    and (if a person) resides at Lacrocse tit               .51/4(51
                                                                             (Address, if known)
    and (if the defendant harmed you while doing the defendant's job)

    worked for     Loa,ccosse           £onIu           clod!
                                                       (Employer's name and address, if known)

             (If you need to list more defendants, use another piece of paper.)

    B.       STATEMENT OF CLAIM

             On the space provided on the following pages, tell:
                   Who violated your rights;
                   What each defendant did;
                   When they did it;
                   Where it happened; and
                   Why they did it, if you know.

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         JURISDICTION



         Li      I am suing for a violation of federal law under 28 U.S.C. § 1331.
                                      OR

                 I am suing under state law. The state citizenship of the plaintiff(s) is (are)
                 different from the state citizenship of every defendant, and the amount of
                 money at stake in this case (not counting interest and costs) is


         RELIEF WANTED

         Describe what you want the court to do if you win your lawsuit. Examples may
         include an award of money or an order telling defendants to do something or
         stop doing something.

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E.   JURY DEMAND



     ri    Jury Demand - I want a jury to hear my case
                           OR

     1,7   Court Trial -- I want a judge to hear my case



           Dated this   6f       day of      02S                    20 A. I.

                  Respectfully Submitted,




                  Signature of Plaintiff

                   ,,Z0/8-076q_
                  Plaintiff's Prisoner ID Number


                    _AO    g 5 licit( Api t zys.
                   ftrica..90              be340q
                   (Mailing Address of Plaintiff)

                   (If more than one plaintiff, use another piece of paper).

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FILING FEE

     I DO request that I be allowed to file this complaint without paying the filing
     fee. I have completed a request to proceed in the district court without
     prepaying the fee and attached it to the complaint.

Li   I DO NOT request that I be allowed to file this complaint without prepaying the
     filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
     complaint.




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